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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
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                                                                          9   UNITED STATES OF AMERICA,                                     No. CR 16-00440 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.                                                          ORDER GRANTING
                                                                                                                                            REQUEST FOR EXTENSION
                               For the Northern District of California




                                                                         12   YEVGENIY ALEKSANDROVICH                                       OF TIME TO COMPLETE
                                                                         13   NIKULIN,                                                      EVALUATION

                                                                         14                  Defendant.
                                                                                                                          /
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                                                                         16          An October 10 order committed defendant Yevgeniy Nikulin to the custody of the

                                                                         17   Attorney General for placement in a suitable facility for purposes of an examination pursuant to

                                                                         18   18 U.S.C. § 4241(b). That order further provided that “[t]he director of the facility may apply

                                                                         19   for a reasonable extension, not to exceed fifteen days, upon a showing of good cause that the

                                                                         20   additional time is necessary to observe and evaluate the defendant, as provided in 18 U.S.C. §

                                                                         21   4247(b)” (Dkt. No. 70). Having received such an application, and for good cause shown, the

                                                                         22   Bureau of Prisons’ request for a fifteen-day extension to complete the evaluation is GRANTED.

                                                                         23   The examiner’s report shall be provided to the Court by February 8, 2019. The government

                                                                         24   shall please provide a copy of this order to the Bureau of Prisons.

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                                                                         26          IT IS SO ORDERED.

                                                                         27
                                                                         28   Dated: December 18, 2018.
                                                                                                                                       WILLIAM ALSUP
                                                                                                                                       UNITED STATES DISTRICT JUDGE
